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  Denver County District Court, Colorado
  1437 Bannock Street
  Denver, CO 80202                                             DATE FILED
  Plaintiffs Nome Partners LLC, CBZ Management LLC,            March 14, 2025 6:39 PM
                                                               FILING ID: 50A4CD66408C2
  Zev Baumgarten and Shmaryahu Baumgarten                      CASE NUMBER: 2025CV30970

  v.

  Defendant United States Liability Insurance Company     ▲ COURT USE ONLY ▲
  Attorneys for Plaintiffs Nome Partners LLC, CBZ
  Management LLC, Zev Baumgarten and Shmaryahu
  Baumgarten:                                         Case Number:
  Robert L. Barlow, Reg. No. 43547
                                                      Division:
  Kristin L. Arthur, Reg No. 52397
  GARNETT POWELL MAXIMON BARLOW & FARBES
  1125 17th Street, Suite 2200
  Denver, CO 80202
  (303) 991-3344
  Rob.Barlow@garnettlegalgroup.com
  Kristin.Arthur@garnettlegalgroup.com


                   COMPLAINT FOR DAMAGES AND JURY DEMAND


        Plaintiffs bring this action for damages against Defendant United States Liability Insurance

 Company (“USLI”).

 I.     Parties

        1.     Nome Partners LLC is a limited liability company doing business in Colorado.

        2.     CBZ Management LLC is a limited liability company doing business in Colorado.

        3.     Zev Baumgarten is an individual residing in Florida.

        4.     Shmaryahu Baumgarten is an individual residing in New York.

        5.      USLI is an insurance company licensed to conduct business in the State of
 Colorado. According to the Colorado Secretary of State Business Entity Search Utility, USLI is a
 foreign corporation domiciled in Pennsylvania and nonresident of Colorado.
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 II.    Jurisdiction and Venue

         6.      Statutorily, this Court has jurisdiction to award damages and other relief against
 USLI under Colorado’s long-arm statute. See C.R.S. §§ 13-1-124(1)(a) (“the transaction of any
 business in this state”); 13-1-124(1)(d) (“contracting to insure any … property, or risk residing or
 located within this state at the time of contracting”). Further, this Court has jurisdiction to award
 damages and other relief against USLI because USLI has sufficient minimum contacts with
 Colorado since it does business in Colorado, issues insurance policies for properties in Colorado,
 and targets persons in Colorado.

        7.     Venue is proper in this Court pursuant to C.R.C.P. 98(c)(1) because USLI is a
 nonresident of Colorado but USLI does business in Denver County and therefore is found in
 Denver County.

 III.   Facts

         8.      On or about August 12, 2024, Plaintiff Javier Hidalgo, on his own behalf and on
 behalf of all others similarly situated filed a Class Action Complaint and Jury Demand in the
 District Court for Adams County under Case Number 2024CV31247 naming Nome Partners LLC,
 CBZ Management LLC, Zev Baumgarten and Shmaryahu Baumgarten as Defendants (the “Class
 Action”). Plaintiff also filed a Motion for Temporary Restraining Order and Request for Expedited
 Hearing in the Class Action. (Exhibit 1)

        9.       By Court Order filed August 14, 2024, the Court granted certain injunctive relief
 ex parte requiring, among other relief, that Defendants provide alternative housing to Plaintiff and
 class members (the “TRO”). (Exhibit 1A)

        10.   By email dated August 15, 2024, a claim for insurance coverage for the Class
 Action Complaint and Motion for TRO was tendered to USLI. On that same day, USLI
 acknowledged the clam and assigned claim number 0-43610 (Exhibit 2).

        11.     By email dated August 15, 2024, the adjuster for USLI was provided notice of a
 court hearing scheduled for the Class Action on August 21, 2024 (Exhibit 3).

        12.    By email dated August 23, 2024, the adjuster for USLI was provided with notice
 confirming that the August 21, 2024 court hearing was adjourned and USLI was asked, “Please
 advise when we can expect USLI’s coverage determination. Thank you.” (Exhibit 4).

        13.     By email dated August 26, 2024, the adjuster for USLI was advised, “Please be
 advised that the law firm of Brownstein Hyatt Farber Schreck LLP [“Brownstein”] has been
 engaged to represent the Defendants in the putative class action. Please be advised that as part of
 our tender of this claim, we will be seeking recovery of all costs and expenses incurred in the
 defense. Please advise when we can expect USLI’s coverage determination. Thank you.” (Exhibit
 5).

        14.     By email dated August 30, 2024, USLI was reminded of its duty to respond to the
 tender of coverage promptly:
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        “Brian,

        We believe that USLI has had sufficient time to review this claim. As you know,
        USLI’s duty to defend is triggered if the claims contained in the Complaint include
        any allegation which could fall within the coverage afforded. Even a cursory review
        of the “four corners” of the Hidalgo complaint leads to a conclusion that coverage
        has been triggered. As you well know, an insurer is obligated to consider extrinsic
        evidence to find coverage but not to deny coverage and all questions, ambiguities
        or issues are to be interpreted in favor of the insured. As held in Greystone
        Construction, Inc. v. National Fire & Marine Insurance, Co., 661 F.3d 1272, 1284
        (10th Cir. 2011), any claim that “is potentially or arguably within the policy
        coverage,” must be defended by the insurer.

        In addition, the Colorado legislature has stated, “The policy of Colorado favors
        the interpretation of insurance coverage broadly for the insured.” See, Title 13,
        Article 20 of the Colorado Code.

        Insurers are allowed a “reasonable” time to concede or deny coverage. Given the
        fact that the Hidalgo complaint clearly triggers USLI’s duty to defend, we believe
        that USLI could concede its duty to defend without further delay.”
        (Exhibit 6)

        15.    By email dated September 5, 2024, USLI responded, conceding coverage for the
 Class Action:

        “Hi Mike:

        The coverage review is completed. We shall agree to defend the complaint under a
        coverage reservation of rights. The coverage reservation of rights will be issued
        shortly to the insured and to your office. I am not directly involved in this coverage
        analysis.

        With this step complete, I will seek out counsel to defend Nome Partners, LLC (and
        their managing members). I have used the Law offices of Dietz & Davis in Boulder
        CO for similar type premises liability/habitability type claims. I will have them run
        a conflict check.

        More information to follow, thanks.”
        (Exhibit 7)

         16.    By email dated September 6, 2024, USLI was reminded of costs being incurred in
 the defense of the Class Action:

        “Hi Brian,



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        Thank you for the confirmation and we will look for the ROR.

        Can USLI consider retaining the Brownstein Hyatt Farber Schreck, LLP to
        continue the defense of USLI’s insured(s)? The firm is fully engaged in the defense
        and the facts. The firm is in Denver.

        Also, USLI’s insureds have been incurring costs and expenses providing alternative
        living arrangements for displaced tenants. What is the mechanism for USLI to
        reimburse the insureds for the costs incurred and to takeover the payment of the
        costs going forward?

        Thank you.
        Mike”
        (Exhibit 8)

        17.     On or about September 11, 2024, USLI identified a firm to take over the defense of
 the Class Action but the firm could not be engaged due to a conflict.

        18.    By email dated September 18, 2024, reimbursement of costs and expenses incurred
 was again requested:

       “Hi Brian,

       Any ETA and the ROR and the reimbursement of costs and expenses?

       We can get on a call if that helps.
       Thank you.
       Mike”
       (Exhibit 9)

       19.    On September 23, 2024, USLI issued a reservation of rights (“ROR”) agreeing to
 defend Nome Partners LLC, CBZ Management LLC, Zev Baumgarten and Shmaryahu
 Baumgarten. (Exhibit 10)

         20.    By email dated September 27, 2024, USLI confirmed that it had identified a law
 firm that could handle the “class action component of the case”. (Exhibit 11)

        21.     By email dated September 30, 2024, USLI identified counsel to be assigned to
 defend the class action component of the Hidalgo lawsuit. (Exhibit 12)

         22.     By email dated October 11, 2024, USLI was provided with information and records
 for expenses and costs incurred by Plaintiffs in complying with the TRO which required Plaintiffs
 to provide alternative living arrangements for the displaced tenants and certain legal fees. At that
 time, the covered charges and fees totaled $117,510.84. (Exhibit 13)




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       23.     By email dated October 16, 2024, a follow up request for reimbursement was sent
 to USLI. (Exhibit 14)

         24.    By email dated October 28, 2024, another follow up request for reimbursement was
 sent to USLI. (Exhibit 15)

         25.     After several more email requests to USLI, USLI responded by email dated
 November 18, 2024 that, “This matter has been referred to coverage counsel to review your
 position. I anticipate a determination will be made shortly.” (Exhibit 16)

        26.  USLI did not respond and coverage counsel was not identified, prompting an email
 dated November 27, 2024 to USLI concerning USLI’s violation of Unfair Claims Practices Act,

         “With reference to our email chain below, we have not received any further response
         and frankly, we see no basis for USLI’s failure to promptly pay both the legal bills
         and invoices for the alternative living expenses (which were court ordered) and
         which were submitted to USLI for payment.

         The delay in rendering payment may be in violation of Colorado’s Unfair Claims
         Practices Act, C.R.S. § 10-3-1101, et seq. and USLI’s duty of good faith and fair
         dealing. The facts and circumstance may subject USLI to exposure for bad faith
         claims handling pursuant to C.R.S. § 10-3-1104(1)(h)(II)(IV)(V)(VI)(VII).

         We will look forward to USLI’s prompt response, either directly or via coverage
         counsel. Thank you.”
         (Exhibit 17)

         27.    USLI did not respond prompting another notice to USLI by email dated January 2,
 2025:

         “We have never received any further response from you or USLI coverage counsel
         concerning the matters addressed below. Given more than six (6) weeks has passed
         since you indicated a response would be forthcoming, we will assume that no
         response in fact coming. We will proceed accordingly.”
         (Exhibit 18)

         28.    USLI did not respond further.

        29.     By email dated October 2, 2024 to prior defense counsel, USLI confirmed that it
 would pay the defense costs incurred up to the transfer of the file to USLI assigned defense
 counsel: “As far as necessary prior legal work related to the defense of the class action, we can
 pay that portion of the reasonable fees/costs incurred from time of tender to time of transfer. You
 can send that invoice to my attention. The tender of the claim to my company was on August 15,
 2024.” (Exhibit 19)




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        30.     By email dated October 6, 2024, USLI was provided with the Brownstein firm
 invoice for the period from the time of tender to the time of transfer to USLI assigned defense
 counsel. (Exhibit 20)

         31.   Several follow up requests for reimbursement of the Brownstein defense costs were
 sent to USLI without response.

          32.    At no time did USLI deny coverage for reimbursement of the Brownstein defense
 costs.

          33.    USLI issued Policy GL 1055867C insuring Plaintiffs. (Exhibit 21)

 IV.      First Claim for Relief – Breach of Contract
          Pursuant to C.J.I. 30:10

          34.    Plaintiffs incorporate all paragraphs above as if fully set forth here.

          35.    The USLI Policy is a valid contract of insurance.

        36.    USLI has conceded coverage for Class Action and assigned defense counsel on or
 about September 30, 2024. Assigned defense counsel took over the defense of the Class Action on
 or about October 3, 2024.

         37.    USLI has been provided with a copy of the invoices generated by the Brownstein
 firm for the defense of the Class Action from the date of the tender (August 15, 2024) until the
 transfer of the defense to USLI assigned defense counsel (on or about October 3, 2024) (the
 “Brownstein Defense Costs”).

          38.    USLI agreed to pay the Brownstein Defense Costs but has failed to do so.

         39.      USLI is obligated to reimburse Plaintiffs for costs and expenses incurred in
 providing alternative living arrangements for displaced tenants in accordance with TRO but has
 failed to do so.

         40.    USLI’s failure to render payment or reimbursement for the Brownstein Defense
 Costs and costs and expenses incurred in providing alternative living arrangements for displaced
 tenants in accordance with TRO is a breach by USLI of the USLI Policy.

        41.    Plaintiffs each substantially performed and substantially complied with the USLI
 Policy by paying their respective premiums and by providing timely notice of the Class Action to
 USLI.

        42.     As a result of USLI’s breach of the USLI Policy, Plaintiffs have suffered damages
 and will continue to suffer damages, including the amounts to which it is legally entitled to recover
 under the USLI Policy and attorneys’ fees, all in an amount to be determined at trial.



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    V.         Second Claim for Relief - Bad Faith Breach of Insurance Contract at Common
               Law
               Pursuant to C.J.I. 25:2

         43.      Plaintiffs incorporate all paragraphs above as if fully set forth here.

         44.      Plaintiffs have damages.

         45.   Plaintiffs and USLI entered into a contract of insurance whereby USLI promised to
 pay for covered losses and damages.

        46.     ULSI has acted unreasonably in failing to render payment for the Brownstein
 Defense Costs and costs and expenses incurred in providing alternative living arrangements for
 displaced tenants in accordance with TRO.

        47.     USLI owes a duty to act in good faith and to deal fairly with Plaintiffs, which it
 breached by acting unreasonably. This duty includes, without limitation, the duty to honestly,
 promptly and fairly investigate claims for coverage, cooperate with the Plaintiffs, assign defense
 counsel, pay for covered losses and damages, adopting and implementing reasonable standard for
 the prompt evaluation of a claim, failing to consider a valid appeal of disclaimers of coverage, and
 ignoring evidence that supports the existence of coverage.

         48.      USLI’s unreasonable conduct or position includes, but is not limited to:

                     a.   Agreeing to pay for the Brownstein Defense cost but failing to do so;
                     b.   Failing to communicate its coverage position in a timely fashion;
                     c.   Repeatedly failing to respond to inquiries and requests for payment;
                     d.   Deferring response to inquiries concerning payment to unnamed “coverage
                          counsel” who never responded;
                     e.   Wrongfully denying coverage without a reasonable basis;
                     f.   The failure to negotiate in good faith;
                     g.   Failing to adopt and implement reasonable standards for the prompt
                          evaluation of Plaintiffs’ claim; and
                     h.   Ignoring evidence that supports coverage and therefore acting
                          unreasonably, unfairly and in bad faith toward Plaintiffs

        49.    Upon information and belief, USLI knew that its conduct or position was
 unreasonable or recklessly disregarded the fact that its conduct or position was unreasonable.

         50.      USLI’s unreasonable conduct or position were a cause of Plaintiffs’ damages.




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 VI.    Third Claim for Relief – Statutory Bad Faith Breach of Insurance Contract
        Pursuant to C.J.I. 25:4, C.R.S. §§ 10-3-1115(1)(a), 10-3-1116.

         51.    USLI denied or delayed payment of Plaintiffs’ reimbursement for the costs of self-
 retaining the Brownstein Firm in Plaintiffs’ defense, which was a covered benefit under the USLI
 Policy.

        52.     USLI’s denial or delay of this payment was without a reasonable basis.

        53.    For this statutory violation, Plaintiffs are entitled to the twice the amount of the
 covered benefit that was not paid by USLI plus reasonable attorney fees. See C.R.S. § 10-3-
 1116(1).

 VII.   Prayer for Relief

        Plaintiffs request the following relief in favor of Plaintiffs and against Defendant USLI as
 follows:

        1. Judgment against USLI for compensatory, direct and consequential damages in an
           amount to be determined at trial;

        2. Judgment against USLI in the amount of double the amount of the covered benefit plus
           reasonable attorney fees pursuant to C.R.S. § 10-3-1116(1).

        3. Statutory interest of 8% compounding annually pursuant to C.R.S. § 5-12-102(1)(b).

        4. Cost of suit;

        5. Attorneys’ fees and costs; and

        6. Granting Plaintiffs any further relief deemed just and proper by the Court.

                 PLAINTIFFS DEMAND A JURY OF SIX ON ALL ISSUES.

 Respectfully submitted this 14th day of March, 2025.

                                                     s/Robert L. Barlow
                                                     GARNETT POWELL MAXIMON BARLOW &
                                                     FARBES
                                                     Attorneys for Nome Partners LLC, CBZ
                                                     Management LLC, Zev Baumgarten and
                                                     Shmaryahu Baumgarten

 Plaintiff’s Address:
 c/o GARNETT POWELL MAXIMON BARLOW & FARBES
 1125 17th Street, Suite 2200,
 Denver, CO 80202

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 FORM 1.2. DISTRICT COURT CIVIL (CV) CASE COVER SHEET FOR INITIAL
 PLEADING OF COMPLAINT, COUNTERCLAIM, CROSS-CLAIM OR THIRD-PARTY
 COMPLAINT AND JURY DEMAND

  DENVER COUNTY DISTRICT COURT, COLORADO                          DATE FILED
  1437 Bannock Street                                             March 14, 2025 6:39 PM
  Denver, CO 80202                                                FILING ID: 50A4CD66408C2
                                                                  CASE NUMBER: 2025CV30970
  Plaintiffs: Nome Partners LLC, CBZ Management LLC,
  Zev Baumgarten, and Shmaryahu Baumgarten

  v.

  Defendants: United States Liability Insurance Company               COURT USE ONLY 
  Attorneys for Plaintiffs Nome Partners LLC, CBZ
  Management LLC, Zev Baumgarten, and                           Case No.:
  Shmaryahu Baumgarten:
  Robert L. Barlow, Reg. No.43547                               Division:
  Kristin L. Arthur, Reg. No. 52397
  GARNETT POWELL MAXIMON BARLOW & FARBES
  1125 17th Street, Suite 2200
  Denver, CO 80202
  (303) 991-3344
  Rob.Barlow@garnettlegalgroup.com
  Kristin.Arthur@garnettlegalgroup.com

   DISTRICT COURT CIVIL (CV) CASE COVER SHEET FOR INITIAL PLEADING OF
   COMPLAINT, COUNTERCLAIM, CROSS-CLAIM OR THIRD-PARTY COMPLAINT
                            AND JURY DEMAND

 1. This cover sheet shall be filed with the initial pleading of a complaint, counterclaim, cross-claim
 or third party complaint in every district court civil (CV) case. It shall not be filed in Domestic
 Relations (DR), Probate (PR),, Juvenile (JA, JR, JD, JV), or Mental Health (MH) cases or in Water
 (CW) proceedings subject to sections 37-92-302 to 37-92-305, C.R.S. Failure to file this cover
 sheet is not a jurisdictional defect in the pleading but may result in a clerk’s show cause order
 requiring its filing.

 2. Simplified Procedure under C.R.C.P. 16.1 applies to this case unless (check one box below if
 this party asserts that C.R.C.P. 16.1 does not apply):

 ___    This is a class action, forcible entry and detainer, Rule 106, Rule 120, or other similar
        expedited proceeding, or

 _X_    This party is seeking a monetary judgment against another party of more than $100,000.00,
        exclusive of interest and costs, as supported by the following certification:




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 FORM 1.2. DISTRICT COURT CIVIL (CV) CASE COVER SHEET FOR INITIAL
 PLEADING OF COMPLAINT, COUNTERCLAIM, CROSS-CLAIM OR THIRD-PARTY
 COMPLAINT AND JURY DEMAND

        By my signature below and in compliance with C.R.C.P. 11, based upon information
        reasonably available to me at this time, I certify that the value of this party’s claims against
        one of the other parties is reasonably believed to exceed $100,000.

 Or

 ___      Another party has previously filed a cover sheet stating that C.R.C.P. 16.1 does not apply
 to this case.

       3.       _X_ This party makes a Jury Demand at this time and pays the requisite fee. See
 C.R.C.P. 38. (Checking this box is optional.)


 Dated: March 14, 2025                                 Signature of Attorney for Party

                                                       s/ Robert L. Barlow
                                                       Robert L. Barlow, Reg. No.43547
                                                       Kristin L. Arthur, Reg. No. 52397
                                                       Garnett Powell Maximon Barlow & Farbes
                                                       1125 17th Street, Suite 2200
                                                       Denver, CO 80202
                                                       (303) 991-3344
                                                       rob.barlow@garnettlegalgroup.com
                                                       kristin.arthur@garnettlegalgroup.com

                                                       Attorneys for Plaintiffs Nome Partners
                                                       LLC, CBZ Management LLC, Zev
                                                       Baumgarten, and Shmaryahu Baumgarten

 NOTICE
 This cover sheet must be served on all other parties along with the initial pleading of a complaint,
 counterclaim, cross-claim, or third party complaint.




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  DISTRICT COURT, DENVER COUNTY, COLORADO                      DATE FILED
  1437 Bannock St.                                             March 25, 2025 8:03 AM
  Denver, CO 80202                                             FILING ID: ADFF4E9434FA3
                                                               CASE NUMBER: 2025CV30970
  Plaintiffs: Nome Partners LLC, CBZ Management LLC,
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  v.

  Defendant: United States Liability Insurance Company              COURT USE ONLY 

  Attorneys for Plaintiffs Nome Partners LLC, CBZ
  Management LLC, Zev Baumgarten, and Shmaryahu Case No.: 2025cv30970
  Baumgarten                                      Division: 409
  Robert L. Barlow, Reg. No. 43547
  Kristin L. Arthur, Reg. No. 52397
  Garnett Powell Maximon Barlow & Farbes
  1125 17th Street, Suite 2200
  Denver, CO 80202
  (303) 991-3344
  rob.barlow@garnettlegalgroup.com
  kristin.arthur@garnettlegalgroup.com


                                            SUMMONS

        TO THE ABOVE NAMED DEFENDANT:

        YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court an
 answer or other response to the attached Complaint. If service of the Summons and Complaint was
 made upon you within the State of Colorado, you are required to file your answer or other response
 within 21 days after such service upon you. If service of the Summons and Complaint was made
 upon you outside of the State of Colorado, you are required to file your answer or other response
 within 35 days after such service upon you. Your answer or counterclaim must be accompanied
 with the applicable filing fee.

        If you fail to file your answer or other response to the Complaint in writing within the
 applicable time period, the Court may enter judgment by default against you for the relief
 demanded in the Complaint without further notice.
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 Dated: March 25, 2025
                                    Garnett Powell Maximon Barlow & Farbes

                                    s/ Robert L. Barlow
                                    Robert L. Barlow, Reg. No. 43547
                                    Kristin L. Arthur, Reg. No. 52397

                                    Attorneys for Plaintiffs Nome Partners LLC, CBZ
                                    Management LLC, Zev Baumgarten, and
                                    Shmaryahu Baumgarten




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